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                       EXHIBIT 8
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                                                                    Ì·ª»ô Ô»-´·» éñïçñîððê ïðæïëæðð ßÓ
                                                                ï

  ï            ËÒ×ÌÛÜ ÍÌßÌÛÍ Ü×ÍÌÎ×ÝÌ ÝÑËÎÌ
               Ü×ÍÌÎ×ÝÌ ÑÚ ÓßÍÍßÝØËÍÛÌÌÍ
  î
  í    ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
       ×² ®»æ ÒÛËÎÑÒÌ×Ò ÓßÎÕÛÌ×ÒÙô ÓÜÔ Ü±½µ»¬ Ò±ò ïêîç
  ì    ÍßÔÛÍ ÐÎßÝÌ×ÝÛÍ ßÒÜ            Ó¿-¬»® Ú·´» Ò±ò
       ÐÎÑÜËÝÌÍ Ô×ßÞ×Ô×ÌÇ Ô×Ì×ÙßÌ×ÑÒ ðìóïðçèï
  ë    ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
       ÌØ×Í ÜÑÝËÓÛÒÌ ÎÛÔßÌÛÍ ÌÑæ         Ö«¼¹» Ð¿¬¬· Þò Í¿®·-
  ê    ÐÎÑÜËÝÌÍ Ô×ßÞ×Ô×ÌÇ Ô×Ì×ÙßÌ×ÑÒ
       ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ Ó¿¹·-¬®¿¬»
  é                    Ô»± Ìò Í±®±µ·²
  è
  ç          ×Ò ÌØÛ ÍËÐÛÎ×ÑÎ ÝÑËÎÌ ÑÚ ÌØÛ ÍÌßÌÛ ÑÚ
                   ÝßÔ×ÚÑÎÒ×ß
  ïð          ×Ò ßÒÜ ÚÑÎ ÌØÛ ÝÑËÒÌÇ ÑÚ ÔßÕÛ
                  ÒÑò ÝÊìððìíî
  ïï
       ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
  ïî   Ò×ÝÑÔÛÌÌÛ ÝÎÑÒÛô ·²¼·ª·¼«¿´´§
       ¿²¼ ¿- Ù«¿®¼·¿² ¿¼ Ô·¬»³ º±®
  ïí   Ý¿--·» Ó¿®·» Ý®±²»ô ¿ ³·²±®ô
       ¿²¼ ÞÛÒÖßÓ×Ò ÖÑÒßÌØßÒ ÝÎÑÒÛô
  ïì   ¿´´ ·²¼·ª·¼«¿´´§ ¿²¼ ¿-
       -«½½»--±®- ·² ·²¬»®»-¬ ¬±
  ïë   ÛÍÌßÌÛ ÑÚ Î×ÝÕ ßÎÌØËÎ ÝÎÑÒÛô
  ïê            Ð´¿·²¬·ºº-ô   Ê×ÜÛÑÌßÐÛÜ
            ª-ò              ÜÛÐÑÍ×Ì×ÑÒ ÑÚæ
  ïé                        ÔÛÍÔ×Û Ì×ÊÛ
       ÐÚ×ÆÛÎ ×ÒÝòô ÐßÎÕÛóÜßÊ×Íô ¿
  ïè   ¼·ª·-·±² ±º É¿®²»®óÔ¿³¾»®¬
       Ý±³°¿²§ô ÉßÎÒÛÎóÔßÓÞÛÎÌ
  ïç   ÝÑÓÐßÒÇô ÎßÇÓÑÒÜ Üò ÖÛÒÒ×ÒÙÍô
       ÓòÜò ¿²¼ ÜÑÛÍ ïóïððô
  îð
             Ü»º»²¼¿²¬-ò
  îï   ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ ñ
  îî
  îí
  îì
  îë




Ò»«®±²¬·² Ì®¿½µ Ñ²» øÐ´¿·²¬·ºº ñ Ð®»-½®·¾»® ñ Û¨°»®¬ Ü»°±-÷                                   Ð¿¹» ï
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                                                                  Ì·ª»ô Ô»-´·» éñïçñîððê ïðæïëæðð ßÓ
                                                             ïí

  ï    Í´±¿²óÕ»¬¬»®·²¹ Ý¿²½»® Ý»²¬»® ¿- ¿ °±-¬¼±½¬±®¿´

  î    º»´´±©ò

  í       Ïò     ×² ©¸¿¬ ½¿°¿½·¬§á

  ì       ßò     ß- ¿ ®»-»¿®½¸ °±-¬¼±½¬±®¿¬» º»´´±©ò

  ë       Ïò     Ü± §±« ¸¿ª» ¿²§ ¼»¹®»»-á

  ê       ßò     × ¼±ò

  é       Ïò     ß²¼ ©¸¿¬ ¿®» §±«® ¼»¹®»»-á

  è       ßò     × ¸¿ª» ¿ Ð¸òÜò ·² ¾·±°- §½¸±´±¹§ ©·¬¸ ¿

  ç    -°»½·¿´·¦¿¬·±² ·² ²»«®±°¸¿®³¿½±´±¹§ò

  ïð      Ïò     Ý¿² §±« ¬»´´ ³» ¿¾±«¬ ¬¸» ª¿®·±«-

  ïï   °±-·¬·±²- ¬¸¿¬ §±« ¸¿ª» ¸¿¼ ·² Ðº·¦»®ò

  ïî      ßò     É¸»² × -¬¿®¬»¼ ¿¬ Ðº·¦»®ô × ©¿-

  ïí   °±-¬¼±½¬±®¿´ º»´´±© ¿¬ Ðº·¦»® ¿²¼ ©¿- ·² ¬¸¿¬

  ïì   °±-·¬·±² º±® ¬¸®»» ¿²¼ ¿ ¸¿´º §»¿®-ò ß²¼ ¬¸»² óó

  ïë   ¿½¬«¿´´§ô º±® ±²» §»¿®ô ¿²¼ ¬¸»² × ¾»½¿³» ¿²

  ïê   ¿--·-¬¿²¬ ¼·®»½¬±® º±® ¬©± ¿²¼ ¿ ¸¿´º §»¿®-ò × ¬¸»²

  ïé   ©»²¬ ¬± ¿²±¬¸»® ½±³°¿²§ º±® ¿ §»¿® ¿²¼ ¿ ¸¿´ºô ½¿³»

  ïè   ¾¿½µ ¬± Ðº·¦»® ¿²¼ ©¿- ¿ ³»¼·½¿´ ¼·®»½¬±®ò

  ïç      Ïò     Ñµ¿§ò ß- ³»¼·½¿´ ¼·®»½¬±®ô ©¸± ©±«´¼

  îð   ¾» ¬¸» °»®-±² ¬¸¿¬ ©±«´¼ ¾» ¼·®»½¬´§ ¿¾±ª» §±«á

  îï      ßò     ×¬ù- ½¸¿²¹»¼ -»ª»®¿´ ¬·³»-ò

  îî      Ïò     É»´´ô ½«®®»²¬´§ò

  îí      ßò     Ý«®®»²¬´§á Ì¸» ª·½» °®»-·¼»²¬ô ½´«-¬»®

  îì   ´»¿¼»®ò

  îë      Ïò     ß²¼ ©¸¿¬ ·- ¸·- ±® ¸»® ²¿³»á




Ò»«®±²¬·² Ì®¿½µ Ñ²» øÐ´¿·²¬·ºº ñ Ð®»-½®·¾»® ñ Û¨°»®¬ Ü»°±-÷                                Ð¿¹» ïí
      Case 1:04-cv-10981-PBS Document 1725-9 Filed 03/23/09 Page 4 of 6

                                                                                                 Ì·ª»ô Ô»-´·» éñïçñîððê ïðæïëæðð ßÓ
                                                              îçì                                                                        îçê

  ï    »²¼±¹»²±«- -«¾-¬¿²½» ¬¸¿¬ §±« ³¿µ» ¬¸¿¬ §±«®                 ï       Ïò     É¸¿¬ù- ¿ ³±²±¿³·²»á

  î    ²»®ª»- óó ¬¸¿¬ ·¬ óó ·¬ù- ¸¿®¼ ¬± »¨°´¿·² ·²                 î       ßò    ×¬ù- ¿ óó ·¬ù- ¿ ¬§°» ±º

  í    ´¿§³¿²ù- ¬»®³-ò É¸»² ²»®ª»- º·®»ô ¬¸»§ ®»´»¿-»               í    ²»«®±¬®¿²-³·¬¬»®ò

  ì    ½»®¬¿·² -«¾-¬¿²½»- ½¿´´»¼ ²»«®±¬®¿²-³·¬¬»®-ò                 ì       Ïò     ß®» ¬¸»®» ¿ ¹®±«° óó ¿ -´·¹¸¬ ¹®±«° ±º

  ë       Ïò    ß²¼ ©¸¿¬ù- ¬¸» -·¹²·º·½¿²½» ±º ²»®ª»-               ë    ²»«®±¬®¿²-³·¬¬»®- µ²±©² ¿- ³±²±¿³·²»- óó

  ê    º·®·²¹ ¿²¼ ®»´»¿-·²¹ ½»®¬¿·² -«¾-¬¿²½»- ½¿´´»¼               ê       ßò    Ç»-ò

  é    ²»«®±¬®¿²-³·¬¬»®-á                                           é       Ïò     óó ¿¾±«¬ ©¸·½¸ §±« ¿®» º¿³·´·¿®á

  è       ßò    É¸¿¬ù- ¬¸» -·¹²·º·½¿²½»á                            è       ßò    Ç»-ò

  ç       Ïò    Ç»¿¸ò É¸¿¬ ¼±»- ¬¸¿¬ ³»¿² ¬± óó ¬± ¬¸»              ç       Ïò     ß²¼ ·- ¬¸¿¬ ¹®±«° ´»-- ¬¸¿² ¬»²á

  ïð   ´¿§°»®-±² ©¸± ¸¿- ²± ·¼»¿ ©¸¿¬ ¿ ²»«®±¬®¿²-³·¬¬»® ·-         ïð      ßò    Ç»-ò

  ïï   ±® ¼±»-á                                                     ïï      Ïò     Ý¿² §±« ´·-¬ ¬¸»³ º±® ³»á

  ïî           ÓÎò ÎÑËØßÒÜÛØæ Ø±© ¼±»- -¸» µ²±© ©¸¿¬                ïî      ßò    Ü±°¿³·²»ô ²±®»°·²»°¸®·²»ô ¿²¼

  ïí   ·¬ ³»¿²- ¬± ¬¸¿¬ °»®-±²á                                     ïí   -»®±¬±²·²ò

  ïì      Ïò    ×º -±³»±²» ¿-µ»¼ §±« óó §±«ù®» -·¬¬·²¹              ïì      Ïò     ß²¼ ¿- ¿ ²»«®±°¸¿®³¿½±´±¹·-¬ô §±«

  ïë   ¼±©² ¸¿ª·²¹ ½±ºº»» ©·¬¸ -±³»±²»ò Ì¸»§ ¿-µ §±«ô               ïë   «²¼»®-¬¿²¼ ©¸¿¬ ¼±°¿³·²» ·-ô ®·¹¸¬á

  ïê   É¸¿¬ù- ¿ ²»«®±¬®¿²-³·¬¬»®á                                   ïê      ßò    Ç»-ò

  ïé           Ç±« ¬»´´ ¬¸»³ ¿ ²»«®±¬®¿²-³·¬¬»®                     ïé      Ïò     Ç±« «²¼»®-¬¿²¼ ©¸¿¬ -»®±¬±²·² ·-ô

  ïè   ·²ª±´ª»- ¬¸» º·®·²¹ ¿²¼ ®»´»¿-·²¹ ±º ½»®¬¿·²                 ïè   ®·¹¸¬á

  ïç   -«¾-¬¿²½»-ò                                                  ïç      ßò    Ç»-ô × ¼±ò

  îð           ß²¼ ¬¸»§ -¿§ô É¸¿¬ ¼±»- ¬¸¿¬ ³»¿²á                   îð      Ïò     ß²¼ §±« «²¼»®-¬¿²¼ ©¸¿¬ ²±®»°·²»°¸®·²»

  îï           Ý¿² óó ½¿² §±« ¾» ³±®» -°»½·º·½á                     îï   ·-ô ®·¹¸¬á

  îî      ßò    Ò±¬ ®»¿´´§ò                                         îî      ßò    Ç»-ò

  îí           ÓÎò ÎÑËØßÒÜÛØæ Ñ¾¶»½¬·±² ¬± ¬¸» º±®³ò                îí      Ïò     ×- ¿ óó ·- ¿ -§²±²§³±«- ©±®¼ º±®

  îì      Ïò    Ñµ¿§ò É±«´¼ §±« ¿¹®»» ¬¸¿¬ ¬¸»®» ¿®»                îì   ²±®»°·²»°¸®·²»ô ²±®»¿¼®»²¿´·²á

  îë   ¼®«¹- -±´¼ ¾§ Ðº·¦»® ¬¸¿¬ ¿®» «¬·´·¦»¼ ¾§ °¿¬·»²¬-           îë      ßò    Ç»-ò




                                                              îçë                                                                        îçé

  ï    ¬± ¿ºº»½¬ ²»«®±¬®¿²-³·¬¬»®- ·² ¬¸» ¾®¿·²á                    ï       Ïò     ß²¼ ·- ¬¸»®» ¿ ½»®¬¿·² °«®°±-» ·² ¬¸»

  î       ßò    Ç»-ò                                                î    ¾®¿·² º±® ¼±°¿³·²»á

  í       Ïò    ß²¼ ¬¸»-» ¼®«¹- ½¿² ¾» ¿²¬·¼»°®»--¿²¬-ò             í       ßò    Ç»-ò

  ì    Ý±®®»½¬á                                                     ì       Ïò     É¸¿¬ óó ¹»²»®¿´´§ -°»¿µ·²¹ô ©¸¿¬ù-

  ë       ßò    Ç»-ò                                                ë    ¬¸» óó ¬¸·- óó ¬¸·- °«®°±-» º±® ¼±°¿³·²» ·² ¬¸»

  ê       Ïò    ß²¼ ¬¸»-» ¼®«¹- ½¿² ¾» º±® óó º±®                   ê    ¾®¿·²á

  é    ®»¼«½¬·±² ±º °¿·²ò Ý±®®»½¬á                                  é       ßò    É»´´ô ·¬ ¼»°»²¼- ±² ©¸¿¬ °¿®¬ ±º ¬¸»

  è       ßò    Ë¸ó¸«³ò                                             è    ¾®¿·²ò ×¬ ½¿² ¾» ¼·ºº»®»²¬ ·² ¼·ºº»®»²¬ °¿®¬- ±º

  ç       Ïò    Ç»-á                                                ç    ¬¸» ¾®¿·²ô -± × ½¿²ù¬ ¿²-©»® ¬¸¿¬ò

  ïð      ßò    Î»¼«½¬·±² ±º °¿·²ô §»-ò                             ïð      Ïò     Ø±© ¿¾±«¬ ·² ¬¸» óó ·² ¬¸» ½±²¬»¨¬ ±º

  ïï      Ïò    ß²¼ ¬¸»-» ¼®«¹- ½¿² ¾» º±®                          ïï   ¬®»¿¬·²¹ ¿ °»®-±² º±® ¼»°®»--·±²á ß´´ ®·¹¸¬ò Ý¿²

  ïî   ¿²¬·½±²ª«´-¿²¬ °«®°±-»-ô ½±®®»½¬á                            ïî   §±« »¨°´¿·² ¬¸» -·¹²·º·½¿²½» ±º ¼±°¿³·²» ·² ¬¸»

  ïí      ßò    Ç»-ò                                                ïí   ¾®¿·²á

  ïì      Ïò    ×² º¿½¬ô Ðº·¦»® -»´´- ¼®«¹- º±®                     ïì            ÓÎò ÎÑËØßÒÜÛØæ Ñ¾¶»½¬·±² ¬± ¬¸» º±®³ò

  ïë   ¿²¬·½±²ª«´-¿²¬ °«®°±-»-ô ®·¹¸¬á                              ïë   ×¬ù- ª¿¹«» ¿²¼ ¿³¾·¹«±«-ò

  ïê      ßò    Ç»-ò                                                ïê      Ïò     É»´´ô §±« ·²¼·½¿¬»¼ ¬¸¿¬ ©¸»² × ¿-µ»¼

  ïé      Ïò    Ðº·¦»® -»´´- ¼®«¹- º±® ¿²¬·¼»°®»- -¿²¬              ïé   ©¸¿¬ ¬¸» °«®°±-» ±º ¼±°¿³·²» ·² ¬¸» ¾®¿·² ·²¼·½¿¬»¼

  ïè   °«®°±-»-ô ®·¹¸¬á                                             ïè   ¬¸¿¬ ·¬ ¼»°»²¼- ±² ©¸¿¬ °¿®¬ ±º ¬¸» ¾®¿·²ò ß²¼ ×ù³

  ïç      ßò    Ç»-ô ¬¸»§ ¼±ò                                       ïç   ®»¿¼·²¹ ±ºº ¬¸·- ½±³°«¬»®ô ×ù³ ¸±°·²¹ ·¬ ·- ¿-

  îð      Ïò    ß²¼ ¿´´ ¬¸»-» ¼®«¹- ¿ºº»½¬                          îð   ¿½½«®¿¬» ¿- °±--·¾´»ô ¾«¬ ©¸¿¬ ¹»²»®¿´´§ óó ©¸¿¬ô

  îï   ²»«®±¬®¿²-³·¬¬»®-á                                           îï   ¹»²»®¿´´§ -°»¿µ·²¹ô ·- ¬¸» °«®°±-» º±® ¼±°¿³·²» ·²

  îî      ßò    Ç»-ò                                                îî   ¬¸» ¾®¿·²á

  îí      Ïò    ß²¼ ¿®» §±« ¿ º¿³·´·¿® ©·¬¸ ¬¸» ¬»®³                îí            ß²¼ §±« ·²¼·½¿¬»¼ ·² -«³ ¿²¼ -«¾-¬¿²½»

  îì   þ³±²±¿³·²»þá                                                 îì   ¬¸¿¬ ·¬ °»®¬¿·²- ¬± óó ·¬ óó §±« ½¿²ù¬ ¿²-©»® ¬¸»

  îë      ßò    Ç»-ò                                                îë   ¯«»-¬·±² ¬·´´ ©» ¼·-½«-- ©¸¿¬ °¿®¬ ±º ¬¸» ¾®¿·²




Ò»«®±²¬·² Ì®¿½µ Ñ²» øÐ´¿·²¬·ºº ñ Ð®»-½®·¾»® ñ Û¨°»®¬ Ü»°±-÷                                                                    Ð¿¹» îçì ó îçé
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                                                                   Ì·ª»ô Ô»-´·» éñïçñîððê ïðæïëæðð ßÓ
                                                             îçè

  ï    ©»ù®» ¬¿´µ·²¹ ¿¾±«¬ô ¾¿-·½¿´´§ò Î·¹¸¬á

  î       ßò   Ò±ò Ç±« ¿-µ»¼ ³»ô ©¸¿¬ ¼±»- ·¬ ¼± ·²

  í    ¬¸» ¾®¿·²á ß²¼ × -¿·¼ ·¬ ¼±»- ¼·ºº»®»²¬ ¬¸·²¹- ·²

  ì    ¼·ºº»®»²¬ °¿®¬- ±º ¬¸» ¾®¿·²ò

  ë       Ïò    Ñµ¿§ò É»´´ óó

  ê       ßò   ß²¼ × ¼·¼²ù¬ -¿§ ¿²§¬¸·²¹ ¿¾±«¬ ²±¬

  é    ¾»·²¹ ¿¾´» ¬± »¨°´¿·²ò

  è       Ïò    Û¨°´¿·² ¬± ³» ¬¸» °¿®¬ ±º ¬¸» ¾®¿·² óó

  ç    ¿´´ ®·¹¸¬á óó ·² ©¸·½¸ ¼±°¿³·²» ·- ·²ª±´ª»¼ ¿²¼ º±®

  ïð   ©¸·½¸ ¿² ¿²¬·¼»°®»--¿²¬ ¼®«¹ ©±«´¼ ¸¿ª» ¿² »ºº»½¬ò

  ïï           ÓÎò ÎÑËØßÒÜÛØæ Ñ¾¶»½¬·±² ¬± º±®³ô

  ïî   ª¿¹«» ¿²¼ ¿³¾·¹«±«-ò

  ïí      ßò   Ì¸» ¿²¬·¼»°®»--¿²¬ ¼®«¹ ¬¸¿¬ Ðº·¦»® ¸¿-

  ïì   ©±®µ- ±² -»®±¬±²·²ô ²±¬ ¼±°¿³·²»ò

  ïë      Ïò    ß®» §±« ®»º»®®·²¹ ¬± Æ±´±º¬á

  ïê      ßò   Ç»-ô × ¿³ò

  ïé      Ïò    ß²¼ ©¸»² §±« ®»º»®»²½» -»®±¬±²·²ô ©¸¿¬

  ïè   ·- -»®±¬±²·²á

  ïç      ßò   ×¬ù- ¿²±¬¸»® ²»«®±¬®¿²-³·¬¬»®ò

  îð      Ïò    ß²¼ ·- Æ±´±º¬ «- »¼ ¬± ·²½®»¿-»

  îï   -»®±¬±²·² ±® ¼»°´»¬» -»®±¬±²·²á

  îî           ÓÎò ÎÑËØßÒÜÛØæ × ¬¸·²µ ©»ù®» óó ©»ù®»

  îí   ²±¬ ¹±·²¹ ¬± ¹± ·²¬± Æ±´±º¬ò Ì¸¿¬ ¸¿- ²±¬¸·²¹ ¬± ¼±

  îì   ©·¬¸ ¬¸·- ½¿-»ò

  îë           ÓÎò ÚÎÑÓÍÑÒæ Í¸»ù- ®»º»®»²½»¼ ¬¸»®»ù-




Ò»«®±²¬·² Ì®¿½µ Ñ²» øÐ´¿·²¬·ºº ñ Ð®»-½®·¾»® ñ Û¨°»®¬ Ü»°±-÷                                Ð¿¹» îçè
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                                                                    Ì·ª»ô Ô»-´·» éñïçñîððê ïðæïëæðð ßÓ
                                                              íðð

  ï            ÓÎò ÎÑËØßÒÜÛØæ ß½½±®¼·²¹ ¬± §±«ò

  î            ÓÎò ÚÎÑÓÍÑÒæ Ò±ò Ðº·¦»® ¼±»- -»´´

  í    ¼®«¹-ô ¿²¼ ¬¸»§ ¿®» «-»¼ ¿- ¿² ¿²¬·¼»°®»--¿²¬ò

  ì            ÓÎò ÎÑËØßÒÜÛØæ ß²¼ óó

  ë            ÓÎò ÚÎÑÓÍÑÒæ × ¼·¼²ù¬ -¿§ ¬¸»§ù®»

  ê    ³¿®µ»¬»¼ º±® ·² ¿²§ »ª»²¬ò

  é       Ïò    Ó·-- Ì·ª»ô ¼± §±« ¸¿ª» ¿² «²¼»®-¬¿²¼·²¹

  è    ¿- ¬± ©¸»¬¸»® ¿² ·²½®»¿-»¼ ¿³±«²¬ ±º -»®±¬±²·² ±® ¿

  ç    ¼»½®»¿-»¼ ¿³±«²¬ ±º -»®±¬±²·² ·² ¬¸» ¾®¿·² ½¿² ¾»

  ïð   ¿--±½·¿¬»¼ ©·¬¸ ¼»°®»--·±²á

  ïï      ßò   ß² ·²½®»¿-» ±® ¼»½®»¿-» ±º -»®±¬±²·² ·²

  ïî   ¬¸» ¾®¿·² ½¿² ¾» ¿--±½·¿¬»¼ ©·¬¸ ¼»°®»--·±²ò Þ«¬

  ïí   ©¸»² §±« ¬¿´µ ¿¾±«¬ ¼»°®»--·±²ô ¿®» ©» ¬¿´µ·²¹ ¿¾±«¬

  ïì   ½»²¬®¿´ ²»®ª±«- -§-¬»³ ¼»°®»--·±²ô ±® ¿®» ©» ¬¿´µ·²¹

  ïë   ¿¾±«¬ ½´·²·½¿´ ¼»°®»--·±²á

  ïê      Ïò    Ô»¬ù- ¬¿´µ ¿¾±«¬ ½´·²·½¿´ ¼»°®»--·±²ò

  ïé           ß´´ ®·¹¸¬ò É¸¿¬ ¸¿°°»²- ©¸»² ¬¸»®»ù- ¿

  ïè   ®»¼«½¬·±² ·² ¬¸» º´±© ±º ³±²±¿³·²»- -«½¸ ¿-

  ïç   ¼±°¿³·²»ô -»®±¬±²·²ô ¿²¼ ²±®»°·²»°¸®·²»á

  îð           ÓÎò ÎÑËØßÒÜÛØæ Ñ¾¶»½¬·±² ¬± ¬¸» º±®³ò

  îï      ßò   Ç±«ù®» -¿§·²¹ ³±²±¿³·²»- ·² ¹»²»®¿´á

  îî      Ïò    Ý±®®»½¬ò

  îí      ßò   ß ®»¼«½¬·±² ·² ³±²±¿³·²»- ¸¿- ¾»»²

  îì   ¿--±½·¿¬»¼ ©·¬¸ ¼»°®»--·±²ò

  îë      Ïò    Ñµ¿§ò É¸¿¬ ·- §±«® «²¼»®-¬¿²¼·²¹ ±º




Ò»«®±²¬·² Ì®¿½µ Ñ²» øÐ´¿·²¬·ºº ñ Ð®»-½®·¾»® ñ Û¨°»®¬ Ü»°±-÷                                 Ð¿¹» íðð
